                            Case 4:17-cr-00135-JM Document 69 Filed 08/02/21 Page 1 of 9
AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet I



                                          UNITED STATES DISTRICT COURT                                              TAMM
                                                             Eastern District of Arkansas                     By:
                                                                                                                    ---~llll.L4.-LI
                                                                             )
              UNITED STATES OF AMERJCA                                       )      JUDGMENT IN A CRIMINAL CASE oep CLERK
                                  V.                                         )
                         RYAN VESTAL                                         )
                                                                                    Case Number: 4: 17-cr-000135-JM-0 1
                                                                             )
                                                                             )      USM Number: 31396-009
                                                                             )
                                                                             )       Jeffrey M. Rosenzweig
                                                                             )      Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)           3 of the Indictment
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended              Count
18 U.S.C. § 2252(a)(2)            Distribution of Child Pornography                                          2/6/2017                     3




       The defendant is sentenced as provided in pages 2 through            _ _9__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
~ Count(s)     _l.,_,2_o_ft_h_e_In_d_i_ctm_e_n_t_ _ _ _ _    D   is   ~ are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            7/29/2021



                                                                                                     I'




                                                                            JAMES M. MOODY JR., U.S. DISTRICT JUDGE
                                                                           Name and Title of Judge
                            Case 4:17-cr-00135-JM Document 69 Filed 08/02/21 Page 2 of 9
AO 2458 (Rev. 09/19) Judgment in Criminal Case
           __ _ _ _ Sheet 2 - Imprisonment

                                                                                                     Judgment - Page   -~2~_ of     9
 DEFENDANT: RYAN VESTAL
 CASE NUMBER: 4:17-cr-000135-JM-01

                                                             IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 60MONTHS




      ~ The court makes the following recommendations to the Bureau of Prisons:
 The Court recommends the defendant receive a psychosexual evaluation and participate in sex offender counseling programs during
 incarceration. The Court recommends the defendant be designated to a medical facility that is closest to his family in Arkansas, which may
 include either FMC Fort Worth or MCFP Springfield.
 The Court would like to note that counsel indicated that a compassionate release request is forthcoming.

      D   The defendant is remanded to the custody of the United States Marshal.

      D   The defendant shall surrender to the United States Marshal for this district:

           D   at
                    ---------- D                      a.m.     D   p.m.     on

           D   as notified by the United States Marshal.

      ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          @' before 2 p.m. on          9/13/2021

           D   as notified by the United States Marshal.

           D   as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL



                                                                           By---------------,----------
                                                                                               DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                       Judgment-Page _ _ _ of            9
DEFENDANT: RY AN VEST AL
CASE NUMBER: 4:17-cr-000135-JM-0l
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 FIFTEEN (15) YEARS




                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              D The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.    Ill You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.    ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    ~ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    D You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                               Judgment-Page    _ _....c4_ _   of   ------'9'-----
DEFENDANT: RYANVESTAL
CASE NUMBER: 4:17-cr-000135-JM-0l

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
                                                                                                                ------------
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 38 - Supervised Release
                                                                                                                     5_ of
                                                                                                     Judgment-Page _ _                   9
DEFENDANT: RYAN VESTAL
CASE NUMBER: 4:17-cr-000135-JM-01

                                      ADDITIONAL SUPERVISED RELEASE TERMS
 14) Pursuant to the Mandatory Victims Restitution Act of 1996, you must pay restitution in the amount of$73,500 ($10,000 for Sierra,
 $7,500 for Savannah, $7,500 for Skylar, $7,500 for Sally, $10,000 for Violet, $3,000 for Erika, $3,000 Tori, $2,500 for Sarah, $2,500
 for Tara, $5,000 for Henley, $12,000 for Angela, and $3,000 for Jane) to the U.S. District Clerk. Restitution is due immediately, and
 any unpaid balance will be payable during incarceration. During incarceration, you must pay 50 percent per month of all funds that are
 available to you. During residential re-entry placement, payments will be 10 percent of your gross monthly income. Beginning the first
 month of supervised release, payments will be 10 percent per month of your monthly gross income. Interest is waived.

 15) You must provide the probation officer with access to any requested financial information (including unexpected financial gains)
 and authorize the release of any financial information. The probation office may share financial information with the U.S. Attorney's
 Office.

 16) You must not incur new credit charges or open additional lines of credit without the approval of the probation officer unless all
 criminal penalties have been satisfied.

 17) The probation office will provide state officials with all information required under any sexual predator and sexual offender
 notification and registration statutes and may direct the defendant to report to these agencies personally for required additional
 processing, such as an interview and assessment, photographing, fingerprinting, polygraph testing, and DNA collection.

 18) You must not use any sexually stimulating drug unless specifically prescribed by a doctor who has been notified of your sex
 offender status. You must allow the probation office to verify such notification.

 19) You must not have direct contact with any child you know or reasonably should know to be under the age of 18, including your
 own children, without the permission of the probation officer. If you do have any direct contact with any child you know or reasonably
 should know to be under the age of 18, including your own children, without the permission of the probation officer, you must report
 this contact to the probation officer within 24 hours. Direct contact includes written communication, in-person communication, or
 physical contact. Direct contact does not include incidental contact during ordinary daily activities in public places.

 20) You must not go to, or remain at, any place where you know children under the age of 18 are likely to be, including parks, schools,
 playgrounds, and childcare facilities.

 2l)You must not enter adult bookstores, strip clubs, or adult sex-themed entertainment businesses, or any establishments where such
 material or entertainment is available.

 22) You must not access the Internet except for reasons approved in advance by the probation officer.

 23) You must allow the probation officer to install computer monitoring software on any computer (as defined in 18 U.S.C. § 1030(e)
 (1)) you use.

 24) To ensure compliance with the computer monitoring condition, you must allow the probation officer to conduct initial and periodic
 unannounced searches of any computers (as defined in 18 U.S.C. § 1030(e)(l)) subject to computer monitoring. These searches will be
 conducted to determine whether the computer contains any prohibited data prior to installation of the monitoring software, whether the
 monitoring software is functioning effectively after its installation, and whether there have been attempts to circumvent the monitoring
 software after its installation. You must warn any other people who use these computers that the computers may be subject to searches
 pursuant to this condition.

 25) You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(l)), other
 electronic communications or data storage devices or media, or office, to a search conducted by a United States probation officer.
 Failure to submit to a search may be grounds for revocation ofrelease. You must warn any other occupants that the premises may be
 subject to searches pursuant to this condition.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3C - Supervised Release
                                                                                                      Judgment-Page   _.=6_    of        9
DEFENDANT: RYAN VESTAL
CASE NUMBER: 4:17-cr-000135-JM-01

                           ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
 26) You must participate in sex offender treatment under the guidance and supervision of the probation office and follow the rules and
 regulations of that program, including submitting to periodic polygraph testing to aid in the treatment and supervision process. You
 must pay for the cost of treatment, including polygraph sessions, at the rate of $10 per session, with the total cost not to exceed $40 per
 month, based on ability to pay as determined by the probation office. If you are financially unable to pay for the cost of treatment, the
 co-pay requirement will be waived.

 27) You must not view or possess any "visual depiction" (as defined in 18 U.S.C. § 2256) including any photograph, film, video,
 picture, or computer or computer-generated image or picture, whether made or produced by electronic, mechanical, or other means, of
 "sexually explicit conduct" (as defined in 18 U.S.C. § 2256), or any other material that would compromise your sex offense-specific
 treatment.

 28) You must participate in a mental health treatment program under the guidance and supervision of the probation office. You must
 pay for the cost of treatment at the rate of$10 per session, with the total cost not to exceed $40 per month, based on ability to pay as
 determined by the probation office. If you are financially unable to pay for the cost of treatment, the co-pay requirement will be
 waived.
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AO 245B (Rev. 09/19)     Judgment in a Criminal Case
                         Sheet 5 - Criminal Monetary Penalties
                                                                                                         Judgment -   Page _ _7'--_   of      9
DEFENDANT: RYAN VESTAL
CASE NUMBER: 4:17-cr-000135-JM-Ol
                                                  CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment              Restitution               Fine                    AV AA Assessment*           JVTA Assessment**
 TOTALS              $ 100.00                 $ 73,500.00            $ 0.00                     $ 0.00                      $ 0.00



 D The determination ofrestitution is deferred until - - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priorit}'. order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

 Name of Paiee                                                   Total Loss***                  Restitution Ordered        Priorify or Percentage
  Sierra                                                                                                   $10,000.00

  Savannah                                                                                                  $7,500.00

  Skylar                                                                                                    $7,500.00

  Sally                                                                                                     $7,500.00

  Violet                                                                                                   $10,000.00

  Erika                                                                                                     $3,000.00

  Tori                                                                                                      $3,000.00

  Sarah                                                                                                     $2,500.00

  Tara                                                                                                      $2,500.00

  Henley                                                                                                    $5,000.00


TOTALS                                  $                         0.00           $          73,500.00
                                                                                     -------'----
 D       Restitution amount ordered pursuant to plea agreement $
                                                                          ----------
 D       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Ill      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         Ill   the interest requirement is waived for the        D fine    Ill   restitution.

         D the interest requirement for the           D fine      D restitution is modified as follows:

 * Amy, Vickyyand Andy Child Pornograph_y Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for ictims of Trafficking Act of2015, Pub. L. No. 114-22.
 *** Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5B - Criminal Monetary Penalties
                                                                                                     Judgment-Page      8     of       9
DEFENDANT: RYAN VESTAL
CASE NUMBER: 4:17-cr-000135-JM-01

                                             ADDITIONAL RESTITUTION PAYEES

                                                                                                                            Priority or
Name of Payee                                                       Total Loss*            Restitution Ordered              Percentage
 Angela                                                                                                $12,000.00

 Jane                                                                                                    $3,000.00




      * Findings for the total amount oflosses are reg!,lired under Chapters 109A, 110, 1 IOA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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    AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                           Sheet 6 - Schedule of Payments
                                                                                                              Judgment -   Page   _9~-   of        9
     DEFENDANT: RYAN VESTAL
     CASE NUMBER: 4:17-cr-000135-JM-01

                                                            SCHEDULE OF PAYMENTS

     Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

     A     ~      Lump sum payment of$         73,600.00          due immediately, balance due


                  •    not later than                                 , or
                                                                                •
                  •    in accordance with
                                             •    C,
                                                        •    D,
                                                                  •    E, or         Fbelow; or

     B    •       Payment to begin immediately (may be combined with           DC,       DD,or       D F below); or

     C     D      Payment in equal     _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                               (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

     D     D      Payment in equal      _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                                (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
                  term of supervision; or

    E      D      Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
                  imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
\
     F     !ill   Special instructions regarding the payment of criminal monetary penalties:
                   During incarceration, you must pay 50 percent per month of all funds that are available to you. During residential re-entry
                   placement, payments will be 10 percent of your gross monthly income. Beginning the first month of supervised release,
                   payments will be 10 percent per month of your monthly gross income.




    Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
    the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
    Financial Responsibility Program, are made to the clerk of the court.

    The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




     D    Joint and Several

          Case Number
          Defendant and Co-Defendant Names                                                Joint and Several                 Corresponding Payee,
          (including defendant number)                        Total Amount                     Amount                           if appropriate




     D    The defendant shall pay the cost of prosecution.

    D     The defendant shall pay the following court cost(s):

    D     The defendant shall forfeit the defendant's interest in the following property to the United States:




    Payments shall be a_pplied in the following order: (1) assessment, (2) restitution princ!J?al, (3} restitution interest, (4) AVAA assessment,
    (5) fine principal, (b) fine interest, (7) community restitution, (8) NTA assessment,(~) penalties, and (10) costs, including cost of
    prosecution and court costs.
